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                                      RECEIVEL.,'
                         THE UNITED STATES DISTRICT COURT
                             MIDD2a                      ACABAMA
                                DEBRA P. HACKETT,
ALLIGARE,LLC                      II S.                 CLK                   PLAINTIFF
                                        DISTRICT C01.1R-,f
VS.                              MIDDLE DISTRICTCHT.ilAction No..3: 8_7. CA/H 474_

HD MACHINES,LLC                                                                    DEFENDANT

                                          COMPLAINT

      The plaintiff, Alligare, LLC ('Alligare") submits this complaint against defendant HD
Machines, LLC("HD Machines").
                                              Parties
       1. The plaintiff Alligare, is a Delaware Limited Liability Company, properly registered
          in Alabarna, with a primary location in Opelika, Alabama.

       2. The defendant, HD Machines, is a Mississippi Limited Liability Company located in
          Meridian, Mississippi.
                                           Jurisdiction
       3. This Court has jurisdiction over this matter under 28 U.S.C. § 1332 based on diversity
          of citizenship.

       4. Alligare's members are Welsh Holdings, Inc.("Welsh")and Makhteshim-Agan of
          North America, Inc.(`Makhteshim-Agan”).

       5. Welsh is an Alabama corporation, and its principal place,of business is located in
          Alabama.

      6. Makhteshim-Agan is a Delaware corporation, properly registered in North Carolina,
         with its principal place of business in North Carolina.

       7. HD Machine's sole member,.Jetson Taylor, is a citizen of Mississippi.

       8. The amount in controversy exceeds $75,000.00, exclusive ofinterest and costs.

                                                     Venue
       9. Venue is proper in thisjudicial district under 28 U.S.C. § 1391 because a substantial
          part ofthe events or omissions giving rise to Alligare's claims occurred within this
          judicial district and a substantial part ofthe property that is the subject ofthe action is
          situated in this district.
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                                              Facts
   10. Among other types of products, Alligare sells chemicals used for vegetation
       management.

   11. On January 11, 2009, Alligare and HD Machines entered into an Agreement
      (Agreement 1), attached hereto as"EXHIBIT A" whereby HD Machines would
       purchase various products from Alligare.

   12. Between January 11, 2009, and July 31,2013,HD Machines did not comply with the
       terms of Agreethent 1, and fell behind in payments due to Alligare.

   13. As of July 31,2013, HD Machines had a negative account balance with Alligare in
       the amount of$1,754,097.20.

   14. On July 31, 2013, Alligare and HD Machines entered into an Agreement(Agreement
       2), attached hereto as "EXHIBIT B", whereby HD Machines would continue, with
       certain exceptions, to exclusively purchase products from Alligare, for and in
       consideration of Alligare providing for a payment schedule to satisfy the past-due
       account balance, which was included as a part of said Agreement 2.

   15. Between July 31,2013, and March 1, 2014, HD Machines did not comply with the
       terms of Agreement 2, and again fell behind in payments due to Alligare.

   16. As of March 1, 2014, HD Machines had a negative account balance with Alligare in
       the amount of$3,546,955.54.

   17. On March 1, 2014, Alligare and HD Machines entered into an new Agreement
      (Agreement 3), attached hereto as"EXHIBIT C", whereby HD Machines would
       continue, with certain exceptions, to exclusively purchase products from Alligare, for
       and in consideration of Alligare providing for a payment schedule to satisfy the past-
       due account balance, which was included as a part ofsaid Agreement 3.

   18. On October 6, 2014, Alligare and HD Machines entered into an Amended Agreement
      (Agreement 4), attached hereto as "EXHIBIT D",extending the end date of
       Agreement 3 from December 31,2018 to December 31, 2023. In return, Alligare
       would, upon notice of a lesser price offered by a competitor, either match the lesser
       price, or allow HD Machines to purchase from said competitor.

  19. Further, on October 6,2014, Alligare and HD Machines entered into a Letter
      Agreement(Agreement 5), attached hereto as"EXHIBIT E",setting out and
      clarifying terms for combined past-due and future monthly payments.
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                                                  I/

  20. At all times hereunder, Alligare delivered the products requested by HD Machines,
      and HD Machines accepted the products.

  21. Alligare has periodically balanced the account and rendered a statement to HD
      Machines.

  22. HD Machines has never disputed the amount ofthe statements.

  23. Alligare routinely provided products to HD Machines on account, and HD Machines
      made payments on said account.

  24. The current past-due account balance owed to Alligare by HD Machines is
      $998,778.70.

  25. HD Machines has failed to make payments in accordance with Agreement 5.

  26. Further, Alligare has recently discovered that HD Machines has been purchasing
      products from competitors of Alligare in breach of the various referenced Agreement
      3, as amended by Agreement 4.




                          Count One: Breach of Contract
  27. Plaintiff adopts and incorporates paragraphs one through twenty-six as if set forth
      herein verbatim.

  28. Alligare, LLC,and HD Machines, LLC,entered into a valid and binding contract.

  29. HD Machines' failure to make required payrnents under the Agreements constitutes
      breach ofthe contract.

  30. HD Machines' purchase of products from another vendor constitutes breach of
      contract.

  31. Alligare, LLC, has suffered damages as a proximate result of HD Machines' breach
      of contract.

  32. As a result of its breach ofthe Agreement, HD Machines is liable for all ofthe
      remaining unpaid amounts reflected in the Invoices.
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                                        Count Two: Open Account

       33. Plaintiff adopts and incorporates paragraphs one through thirty-two as if set forth
           herein verbatim.

       34. Defendant owes Plaintiff $998,778.70 on open account.


                                  Count Three: Account Stated

       35. Plaintiff adopts and incorporates paragraphs one through thirty-four as if set forth
           herein verbatim.

       36. Defendant owes Plaintiff $998,778.70 on account stated.


                                             Relief Requested
       ACCORDINGLY,Alligare respectfully requests that the Court enter a judgment in its
favor and against HD Machines awarding Alligare the following:
      (i)     Damages for the Impaid amounts reflected in the invoices totaling $998,778.70,
      (ii)    All other damages caused by HD Machines' breaches in an amount to be proven
              at trial,
      (iii)   Pre and postjudgment interest and
      (iv)    All other reliefthat the Court deems appropriate.


Respectfully Submitted this the   r day ofMay 2018.

                                             //s// J. Brandon Rice
                                             J. Brandon Rice(RIC-060)
                                             ASB 0490-N52R
                                             Attorney for Alligare, LLC
                                             830 Avenue A, Suite A
                                             Opelika, AL 36801
                                             (334)749-6999
                                             (3340 203-1875 fax
                                             jbrandonrice@riceparr.com
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                                        Count Two: Open Account

       33. Plaintiff adopts and incorporates paragraphs one through thirty-two as if set forth
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                                              Relief Requested
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              at trial,
      (iii)   Pre and postjudgment interest and
      (iv)    All other relief that the Court deems appropriate.


Respectfully Submitted this the 7th day of May 2018.




                                              . Brandon Rice(RIC-060)
                                             ASB 0490-N52R
                                             Attorney for Alligare, LLC
                                             830 Avenue A,Suite A
                                             Opelika, AL 36801
                                             (334)749-6999
                                             (3340 203-1875 fax
                                             jbrandonrice@riceparr.com
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Defendant's Address for Service:
HD Machines, LLC
c/o Jetson Taylor, its registered agent
414 Hwy 11 & 80 East
Meridian, MS 39301
